 25-10684-jpm    Doc 1-1     Filed 04/08/25     Entered 04/08/25 15:10:41   Matrix   Pg 1
                                              of 1

                                                 f ~ PA( @ fl_t?cfJt+
1-R.S                                              fo/30X~1, 2 7
"2- qO .fi !cD4fa<_, ,4<f'                         +h, I 11JJer,th, A- -PIJ. RIX(:;
 ).J~ AJ CJ      l(X)(jC)

J\                                                 C! c+t (! M<Pt f
TAepeR.f!.;i{) ~ k AIA                              Po IB,0;<. o/'CCJJ 037
'701 ~-    r:,         .
 tf7.b FL5,;:_et2v,4 s;,+
                                                    UJulf;.Yt J/e K"f
                                                                   q
                                                                            '-h2=tc>
 Lo.:;. Au<Seles, e,. A Cf&oi J                    (I MJ,f Ckie ct~ k
                                                   Po iscy 0o__s;oc,
P-J~ -f<Lk:. C'B,,4 LO.t"W                        <E.tf.,5 Df rAJdo.s,+Rc
 198'/ ~l'+IR.cuS.           J!,-v(l..             C'.-4 91/ftb              cJ
[.,...A.Ke_ C'\Jee es~ P            'a- II o '-I 2-
   l/O lDA/k-e_ ~~+ LL c:_
    I &0 $;.'t:2 ve ~ ,i¢<'1€_.:s+,
    1, flc:6 l(J::J µ, ,uJ, 112 rs

   ---r l,c-<- S:f4AY<.. e Sclte::o/
      '2--Z £      q2t::f ~f
       1v d 10& 10012-
    1-+s g<l /vl 14.Sl-el'l ctA- rziJ
    Poi:Jrxq
     BvfpA-lo ~c} fCl8sf:J
     W-e.,(~ ~#JO Yr..S?'(
      fo ..tox rO.:S:Cf-,
      bes: MorAJe.s.,_,:r--A :x>.scb
